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WESTERN OREN OF Li VISIANA

SEP 13 2021 UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA
TONY R. er CLERK
BY u

KELLY BEASLEY; CIVIL ACTION NO.

by and through their parent,
KELLY BEASLEY, MAGISTRATE JUDGE

Plaintiffs,

 

VERSUS

IBERIA PARISH SCHOOL DISTRICT BOARD OF EDUCATION;
CANEVIEW ELEMENTARY SCHOOL ADMINISTRATION;

IBERIA MIDDLE SCHOOL ADMINISTRATION ;

CAREY LAVIOLETTE, in her individual capacity and in her official
capacity as Superintendent of the Iberia Parish Schoo] Board;

and JENNIFER JOSEPH, in her individual capacity and in her official
capacity as Assistant Superintendent of the Iberia Parish School Board;
ELVIN PRADIA, in his individual capacity and in his official

capacity as President of the Iberia Parish School Board;

DAN L. LEBLANC, SR., in his individual capacity and in his official
capacity as the First Vice President of the Iberia Parish School Board;
JESSE J. McDONALD, in his individual capacity and in his official
capacity as the Second Vice President of the Iberia Parish School Board;
DANNY D. SEGURA, in his individual capacity and in his official
capacity as Executive Committee Member At Large;

RAYMOND Q. LEWIS, DEBRA A. SAVOIE, MICHAEL W. S, L. MAYEUX,
BRAD NORRIS, DANA P. DUGAS, RACHEL L. SEGURA,
KATHLEEN B. ROSAMOND, REV. ARTHUR L. ALEXANDER, KENRIC P. FREMIN,
NURSEY O. McNEAL,

all in their individual capacities and in their capacities as members of the
Iberia Parish School Board,

JENNIFER DEROUEN, in her individual capacity and in her official
capacity as Principal of Caneview Elementary School;
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DINA BOURQUE, in her individual capacity and in her official
capacity as Principal of Iberia Middle School,
Defendants.

a. Plaintiff, Kelly Beasley who resides at 5506 Leona Dr., Apt 8, New Iberia,
Louisiana, 70560.

b. Plaintiff, PF a minor, who resides at $506 Leona Dr., Apt 8, New
Iberia, Louisiana, 70560.

c. Plaintiff, a 2 minor, who resides at 5506 Leona Dr., Apt 8, New
Iberia, Louisiana, 70560.

a. Plaintiff, Ra a minor, who resides at 5506 Leona Dr., New
Iberia, Louisiana, 70560.

b. Defendant, Carey Laviolette, who has an office at 1500 Jane St., New Iberia,
Louisiana, 70560.

Cc, Defendant, Jennifer Joseph, who has an office at 1500 Jane St., New Iberia,
Louisiana, 70560.

d. Defendant, Nursery O Mcneal, who resides at 735 Breaux Alley, New fberia,
Louisiana 70560.

e. Defendant, Elvin Pradia, who resides at 1717 Gibbs Lane, New Iberia, Louisiana
70560.

f. Defendant, Jesse J. McDonald who resides at 107 W. Tampico St., New Iberia,
Louisiana 70563.

g. Defendant, Raymond Q. Lewis, who resides at 1230 Angie Street, New Iberia,
Louisiana 70560.

h, Defendant, Debra A. Savoie, who resides at 815 Beverly Street, New Iberia,
Louisiana 70560. |

1. Defendant, Michael W. S. L. Mayeux, who resides at 34 Oak Place, New Iberia,
Louisiana 70560.

j. Defendant, Dan L. Leblanc, Sr., who resides at 203 Everett, New Iberia,
Louisiana 70563,

k, Defendant, Brad M. Norris, who resides at 3205 Sugar Oaks Rd., New Iberia,
Louisiana 70563,

1 Defendant, Dana P. Dugas, who resides at 953 N. Main St, Loreauville, Louisiana
70552.
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m. Defendant, Rachel L. Segura, who resides at 5519 Willamette St., New Iberia,
Louisiana 70560. ,

n, Defendant, Kathleen B. Rosamond, who resides at 1413 Tarleton St., Jeanerette,
Louisiana 70544.

0. Defendant, Rev, Arthur L. Alexander, who resides at 11308 E. Admiral Doyle Dr.,
Jeanerette, Louisiana 70544,

 

p. Defendant, Danny D. Sequra, who resides at 5810 Derouen Road, New Iberia,
Louisiana 70560.

q. ‘Defendant, Kenric P. Fremin, who resides at 5711 Fremin Road, New Iberia,
Louisiana 70560.

JURISDICTION AND VENUE

3.

a. This court has subject matter jurisdiction over Plaintiffs’ claims under 28 U.S.C

b, There exists an actual and justiciable controversy between Plaintiffs and
Defendant requiring resolution by this court.

C. Plaintiffs have no adequate remedy by law.

d. Venue is proper before the United States District Court for the Western District of

Louisiana under 28 U.S.C, 1391 because all parties reside or otherwise are found herein, and
all acts and omissions giving rise to Plaintiffs’ claims occurred in the Western Disirict of
Louisiana.

4.

a. On August 11, 2021, Plaintiff ets" Caneview Elementary
School and was escorted to an isolation classroom due to not having a mask on. He remained
in isolation without adequate supervision until his mother was able to pick him up. Upon which,
his mother observed that he was clearly traumatized,

(i) R chieve 21- mplovee & Studen states,
Students will be adequately supervised until the student is picked up.
(ii) Iberia Parish School Board Policy JGCE states,
ABUSE means any one of the following acts which seriously endanger
the physical, mental, or emotional health and safety of the child:
The infliction, attempted infliction, or, as a result of inadequate
supervision, the allowance of the infliction or attempted infliction of
physical or mental injury upon the child by a parent or any other person.
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b. Plaintiff as discriminated against for his religious beliefs.
(i) onst. 1 endment
(ii) EXHIBIT A - Religious exemption signed by priest

 

 

C. Plinti(_ was refused an education due to noncompliance
concerning mask mandate. Upon which exemptions were presented to both principal and IPSB
on August 20, 2021, exemptions were denied.

(i) PROCLAMATION JBE 137 OF 2021, Sect 3, C3
(ii) EXHIBIT B - Email to Defendants
(iii) EXHIBIT C - Medical exemption

a. Plaintiff i was discriminated against for her religious beliefs.
(i) U.S. Const. 14th Amendment
(ii) EXHIBIT D - Religious exemption signed by Priest

b, Plaintiff was refused an education due to noncompliance
concerning mask mandate. Upon which exemptions were presented to both principal and IPSB
on August 20, 2021, exemptions were denied.

(i) PROCLAMATI ct 3, C3
(ii) EXHIBIT E - Email to defendants
(iii) EXHIBIT F - Medical exemption

6.
a. On August 18, 2021, Plaintiff Kelly Beasley attended an Iberia Parish School

Board meeting with the intention to address grievances and present exemptions. At the start of
the meeting, Defendants (IPSB collectively) contacted the New Iberia Police Department to
escort the public out. After the meeting Plaintiff Kelly Beasley spoke with Defendant Brad Norris
concerning changes to District Attendance Policy. On August 20, 2021, Plaintiff Kelly Beasley
requested via email the changes to the District Attendance Policy spoken about previously on
August 20, 2021, an answer was given via email from Defendant Brad Norris stating that he
would send the policy changes no later than August 23, 2021. No further contact took place.

(i) www.iberianet.com August 18, 2021, Article Title, Watch police

respond to protestors at Iberia Parish School Board Meeting.
(ii) EXHIBIT G - Email from defendant Brad Norris

b. On August 26, 2021, which was the 11th day of unexcused absences,
Defendant Jennifer Derouen sent an email stating that ri had been
submitted to the FINS program due to excessive absences. However, District policy states a
mandatory conference must take place at five days. Therefore, Plaintiff Kelly Beasley was not

given due process.
(i) EXHIBIT H - Email from defendant Jennifer Derouen
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(ii) Canev e udent Handb ten policy states
After a student misses five (5) unexcused days, the student and
parent/guardian will be turned over to Student Services through the
IPSB and referred to the District Attorney's Office for a mandatory
conference. It also states any student that accumulated eleven (11)
days of absences may not be promoted to the next grade.

C. Plaintiff Kelly Beasley incurred damages and/or insufferable harm, due to
termination of employment. Termination occurred due to children being unconstitutionally (the

equal ction cl of the 14th a nt) denied o schooling, and
Plaintiff Kelly Beasley being forced to homeschool Plaintiffs

(i) EXHIBIT | - Expert witness, Steven Petty Affidavit stating the Science
proving the inefficacy and damaging effects of face masks.

RELIEF

Plaintiff Kelly Beasley prays for relief from damages incurred, at the maximum rate permitted by
law. Plaintiff Kelly Beasley is entitled to monetary compensation based on the merit of this case.

Kelly Beasle

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